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                             EXHIBIT 1
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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

IN RE: ETHICON, INC.
PELVIC REPAIR SYSTEM,
PRODUCTS LIABILITY LITIGATION                                       MDL NO. 2327
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THIS DOCUMENT RELATES TO ALL CASES

                      NOTICE TO TAKE ORAL DEPOSITION
                OF DEFENDANT THROUGH DESIGNATED WITNESSES

TO:    Defendant ETHICON, INC., and Johnson & Johnson, Inc., (hereinafter “Defendants”)

and its Attorneys of Record.

       Please take notice that pursuant Rule 30(b)(6) of the Federal Rules of Civil Procedure,

Plaintiffs, by and through their counsel, will take the videotaped deposition of Defendants

corporate designees at an agreed upon date and location. The witness(es) shall be prepared to

testify concerning the subject matters identified in Exhibit “A,” attached hereto. The witness

shall produce documents identified in Exhibit “B,” attached hereto, prior to the deposition. The

deposition will be taken before a person authorized by law to administer oaths pursuant to Rule

28 of the Federal Rules of Civil Procedure and will continue day-to-day until the examination is

completed.

                                         DEFINITIONS

       All definitions and rules of instructions set forth in Fed. Rule Civ. P. 30(b)(6) shall apply

to all requests for information herein. To the extent a term commonly in use in the medical

device industry is not defined herein, it shall be understood to be consistent with the meaning

commonly ascribed to that term in the medical device industry.

       1.      “Concerning” means referring to, describing, evidencing, or constituting. See LR

Civ. P 26.2(c)(7).
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       2.      “Defendants,” “Ethicon, Inc.,” “Johnson & Johnson Inc.,” “you” or “your” refers

to, without limitation, Ethicon, Inc. and Johnson & Johnson Inc., and all business entities with

which it is or has been affiliated, together with any predecessor, successor, parent, or subsidiary

entity, as well as any officer, director, employee, attorney, agent, or representative of any such

other business entity previously described herein.

       3.      “Document” is synonymous in meaning and equal in scope to the usage of this

term in Rule 34(a) of the Federal Rules of Civil Procedure and expressly includes writings,

drawings, graphs, charts, photographs, sound recordings, images, and other data or data

compilations stored in any medium from which information can be obtained either directly or, if

necessary, after translation by you into a reasonably usable form. A draft or non-identical copy

is a separate document. See LR Civ. P. 26.2(c)(2); see also FR Civ. P 34(a).

       4.      “TVT” means the TVT (the original base product) Tension Free Vaginal Tape

System device cleared by the FDA on or about January 01, 1998 which was developed, designed,

distributed, licensed, manufactured, marketed or sold for the treatment of Stress Urinary

Incontinence (SUI). The term “TVT” also includes any kits or tools designed to be sold with the

TVT including, but not limited to the TVT-AA and TVT-D.

       5.      “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold TVT to the present.

Dated: August 15, 2013




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                                         EXHIBIT “A”

                             DEPOSITION SUBJECT MATTER

       Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge and shall be able to

testify concerning the following subject matters:

       1.      The identify of, the location of, and the substance of any and all studies, data

and/or other evidence that form the basis of the following claim/statement included in the

attached Instructions for Use for the TVT product:

               “Animal studies show that implantation of PROLENE mesh elicits
               a minimal inflammatory reaction in tissues, which is transient and
               is followed by the deposition of a thin fibrous layer of tissue which
               can grow through the interstices of the mesh, thus incorporating
               the mesh to adjacent tissue.”

       2.      Any and all reasons why the claim/statement contained in paragraph 1 above was

changed in 2010.

       3.      The identify of, the location of, and the substance of any and all studies, data

and/or other evidence that form the basis of the following claim/statement included in the

attached Instructions for Use for the TVT product:

               “The material is not absorbed nor is it subject to degradation or
               weakening by the action of tissue enzymes.”

       4.      The identity of, the location of, and the substance of any and all studies, data

and/or other evidence that form the basis of the following claim/statement included in the

attached Instructions for Use for the TVT product:

               “Transitory local irritation at the wound site and a transitory foreign body
               response may occur.”




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                                         EXHIBIT “B”

                                   DOCUMENT REQUESTS

         Please produce:

         1.     All documents relied upon by the deponent in preparing for this deposition.

         2.     All studies, data and/or other evidence that form the basis for the statements

include in the attached Instructions for Use for the TVT product and identified in Exhibit A

above.




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